 Case 2:09-cr-20133-JWL             Document 1503       Filed 05/31/12   Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

                                                    )
UNITED STATES OF AMERICA,                           )
                                                    )
                       Plaintiff,                   )
                                                    )
                v.                                  )       Case No. 09-20133-JWL
                                                    )
RADELL BRADFORD,                                    )
                                                    )
                       Defendant.                   )
                                                    )



                           MEMORANDUM AND ORDER

       On April 25, 2012, the court denied defendant Radell Bradford’s Motion for

Modification of Sentence on the merits (doc. 1493).

       For the reasons set forth in that Memorandum and Order, Ms. Bradford is

ineligible for relief pursuant to 18 U.S.C. § 3582(c)(2). As the facts establish that the

defendant is ineligible for relief, the court is without jurisdiction to consider a reduction

of sentence under § 3582(c). United States v. Curtis, 252 Fed. App’x 886, 887 (10th Cir.

2007) (Where the Amendment did not subsequently lower the defendant’s Guideline

range, the district court has no jurisdiction to consider a modification to his sentence

under 18 U.S.C. § 3582(c)(2)). As such, the court’s prior Order is amended nunc pro

tunc to dismiss the defendant’s Motion for Modification of Sentence for lack of

jurisdiction.
 Case 2:09-cr-20133-JWL        Document 1503       Filed 05/31/12    Page 2 of 2




       IT IS THEREFORE ORDERED BY THE COURT that defendant’s Motion

for Modification of Sentence (doc. 1400) is dismissed for lack of jurisdiction.



       IT IS SO ORDERED this 31st day of May, 2012.


                                   s/ John W. Lungstrum
                                   John W. Lungstrum
                                   United States District Judge




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